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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 23-CR-2388 (RDM)
                                              :
JARED LUTHER OWENS,                           :
                                              :
                       Defendant.             :


                GOVERNMENT’S RESPONSE TO DEFENDANT’S
            MOTION TO MODIFY CONDITIONS OF PRE-TRIAL RELEASE

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby submits this response to Defendant Jared Luther Owens’ Motion to Modify

Pre-Trial Release Conditions. ECF 56. The United States is opposed to Owens’ motion and asks

the Court to maintain Owens on home incarceration because this restriction on Owens’ activities

is the least restrictive condition that would reasonably assure the safety of the community and the

Defendant’s appearance at future proceedings in this case. Owens’ motion to modify his release

conditions requests that Owens be allowed “attend to his wife and to attend doctor’s appointments

and emergencies that may arise during her high-risk pregnancy,” ECF 56, p. 2, yet does not request

a specific modification within his existing classification of supervision to allow him to accomplish

those specific responsibilities. Instead, Owens asks the Court for a wholesale reduction in the

classification of his supervision from home incarceration, past home detention, and all the way

down to curfew with no analysis or authority supporting reconsideration of the conditions this

Court previously imposed. Accordingly, this Court should reject Owens’ attempt to reduce his

pretrial release classification. The government opposes the proposed reduction of Owens’

supervision classification, though it would not oppose specific modification of the terms of his




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supervision to account for necessary medical and prenatal needs of his wife, should he provide

adequate justification for specific individual modification.

                RELEVANT FACTS AND PROCEDURAL BACKGROUND

       As previously detailed in court filings, on January 6, 2021, Owens breached the Capitol

grounds, and repeatedly assaulted officers. Owens approached a line of officers who created a

barricade at the top of a set of concrete stairs on the Northeast corner of the Capitol. Owens, and

his co-defendant Wallis, lifted one end of a barricade and shoved the barricade into the line of

officers. The officers raised their arms and hands in defense to keep the barricade from striking

their heads and torsos, but the officers’ hands took the blow. Later, after Owens entered the U.S.

Capitol Building, he approached a line of officers. Owens broke through the police line and pushed

another officer up against a wall. After witnessing the assault, Officer D.T. delivered strikes to

Owens and, after a struggle, was able to put handcuffs on Owens. As Officer D.T. performed a

search, he discovered that Owens had a folding knife in his right front pocket. Owens was arrested

in the Eastern District of Missouri on the federal charges. In Missouri, Magistrate Judge Joseph S.

Dueker ordered Owens detained based on his actions in the January 6 Capitol riots, including the

evidence that Owens helped throw a barricade at police officers, forcibly entered the Capitol

building and was arrested after pushing a police officer against a wall. Judge Dueker also weighed

Owens’ lengthy criminal history, history of criminal activity while under supervision, and

substance abuse history.

       Owens sought review of the magistrate judge’s order of detention. The United States

opposed the motion. This Court held a detention hearing in late December, where evidence of

Owens’ actions and criminal history were submitted. Although this Court did not grant detention,

it did set conditions of pretrial release, including home incarceration, in part because this Court



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found Owens presented a risk of danger to the community. At the hearing, once the Court set the

conditions of pretrial release, Owens sought to change the conditions to allow him to work and

attend church. This Court refused and kept the strict conditions in place.

       The United States previously submitted a factual background in opposition to Owens’ prior

motion for a hearing on detention. ECF 22, pp. 2-12. In addition, the United States previously

submitted additional evidence through video, transcript and documentary evidence to the Court

that was introduced at a hearing held on December 22, 2023. ECF 22-2, 22-3, 22-4, 24, 25-1. This

evidence was admitted by the Court at the hearing on December 22, 2023. See Minute Entry dated

December 22, 2023.

       On January 11, 2024, the Court ordered Owens to be released from detention. ECF 28. The

Court ordered Owens’ release was subject to a number of conditions. ECF 28. As a condition of

Defendant Owens’ release, this Court ordered that Defendant Owens be placed on home

incarceration. Under the terms of home incarceration, Owens was restricted to 24-hour-a-day

lockdown at his residence in Farmington, Missouri. The sole exceptions to this restriction were for

medical necessities, court appearances or other activities specifically approved by the Court. ECF

28, p. 2. Other pretrial release conditions imposed by the Court required that Owens be supervised

by the U.S. Pretrial Services Office for the Eastern District of Missouri, commit no law violations

while on release, cooperate in the collection of a DNA sample, appear in court as required, stay

out of the District of Columbia except for court/pretrial business and meetings with his attorney,

obtain approval by the Court of all travel requests, not possess of firearms, not use alcohol or

narcotic drugs, and complete testing for the use of prohibited substances. Finally, the Court

required Owens submit to location monitoring as directed by Pretrial Services or its supervising

officer and pay for such location monitoring. ECF 28, pp. 2-3.



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       On March 7, 2024, Owens filed a motion to modify the conditions of his release to allow

him to attend work and to attend weekly church services. ECF 33. In April of 2024 this Court

modified Owens’ conditions of release, allowing him to work and attend church services, but

importantly did not remove Owens from the supervision classification of home incarceration

which was previously ordered. Minute Order dated April 26, 2024.

                                      LEGAL STANDARD

        Section 3142(f) provides that a detention hearing:

       may be reopened, before or after a determination by the judicial officer, at any time
       before trial if the judicial officer finds that information exists that was not known
       to the movant at the time of the hearing and that has a material bearing on the issue
       whether conditions of release that will reasonably assure the appearance of such
       person as required and the safety of any other person and the community.

18 U.S.C. § 3142(f).

       “New and material information ... consists of something other than a defendant's own

evaluation of his character or the strength of the case against him; instead, it must consist of truly

changed circumstances, something unexpected, or a significant event.” United States v. Caldwell,

No. 21-cr-181 (CKK), 2022 WL 168343 at *6 (D.D.C. Jan. 19, 2022) (quoting United States v.

Lee, 451 F. Supp. 3d 1, 5 (D.D.C. 2020)). The “mere passage of time, without a substantial change

in the underlying reasons … for pretrial detention is generally not sufficient to warrant

reconsiderations, particularly where a trial date has been set in the near future.” United States v.

Bikundi, 73 F.Supp.3d 51, 55 (D.D.C. 2014) (quoting United States v. Ali, 534 Fed.Appx. 1, 2

(D.C. Cir. 2013) (per curiam)). Information that could have been but was not presented at the

original detention hearing does not justify reopening a detention hearing, and conclusory

allegations that information is new, absent explanation for why the information was previously

unavailable, are insufficient. United States v. Stanford, 341 Fed.Appx. 979, 985 (5th Cir. 2009).



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        Information that is only new is insufficient to support reconsideration under Section

3142(f); instead, the new information must also have a material bearing on the factors a court must

consider when deciding whether to impose detention. Lee, 451 F.Supp. 3d at 6-7. Those factors

are stated at 18 U.S.C. § 3142(g) and include:

        (1) the nature and circumstances of the offense charged, including whether the offense is a
        crime of violence, a violation of section 1591, a Federal crime of terrorism, or involves a
        minor victim or a controlled substance, firearm, explosive, or destructive device;
        (2) the weight of the evidence against the person;
        (3) the history and characteristics of the person, including—
                (A) the person's character, physical and mental condition, family ties, employment,
                financial resources, length of residence in the community, community ties, past
                conduct, history relating to drug or alcohol abuse, criminal history, and record
                concerning appearance at court proceedings; and
                (B) whether, at the time of the current offense or arrest, the person was on probation,
                on parole, or on other release pending trial, sentencing, appeal, or completion of
                sentence for an offense under Federal, State, or local law; and
        (4) the nature and seriousness of the danger to any person or the community that would be
        posed by the person's release.

18 U.S.C. § 3142(g)(1)-(4); see also United States v. Chrestman, 525 F.Supp.3d 14, 26-27 (D.D.C.

2021) (identifying factors specific to Capitol riot cases). 1

        As (then) Judge Ketanji Brown Jackson explained in Lee, “the relevant statutory inquiry is

not the benefits that a defendant’s release would bring about (however significant) or the harms

that his incarceration would cause (however substantial).” Id. at 7 (original emphasis). Instead, any

new information must, in a material way, address the danger posed by the person’s release. Id.

Courts have applied the prerequisites for reopening a detention hearing under Section 3142(f)



1
 The listed considerations in Chrestman include (1) whether the defendant has been charged with
felony or misdemeanor offenses; (2) the extent of the defendant’s prior planning, “for example, by
obtaining weapons or tactical gear”; (3) whether the defendant used or carried a dangerous weapon;
(4) evidence of coordination with other protestors before, during, or after the riot; (5) whether the
defendant played a leadership role in the events of January 6, 2021; and (6) the defendant’s “words
and movements during the riot”—e.g., whether the defendant “remained only on the grounds
surrounding the Capitol” or stormed into the Capitol interior, or whether the defendant “injured,
attempted to injure, or threatened to injure others.” 525 F.Supp.3d at 26-27.
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strictly. United States v. Terrone, 454 F.Supp.3d 1009, 1017 (D. Nev. 2020) (“Courts interpret this

provision strictly”); United States v. Rodriguez, No. 3:20-CR-565-B, 2022 WL 992739 at *1 (N.D.

Tex. Apr. 1, 2022) (“courts have interpreted the requirements of this provision strictly); see also

United States v. Worrell, No. 1:21-CR-00292-RCL, 2021 WL 2366934, at *9 (D.D.C. June 9,

2021) (reconsideration is permissible under this section only when there is new information that

would materially influence the judgment about whether there are conditions of release which will

reasonably assure that the defendant will not flee and will not harm any other person or the

community) (emphasis added; internal citation omitted), appeal dismissed, No. 21-3040, 2021 WL

4765445 (D.C. Cir. Sept. 15, 2021).

                                            ARGUMENT

          The Government submits that the current conditions of pretrial release, including home

incarceration and location monitoring, are needed to reasonably assure the defendant’s appearance

at trial and the safety of the community.

          On October 7, 2024, Owens filed a motion to modify pretrial release conditions. ECF 56.

Owens seeks two modifications to his pretrial release conditions. First, Owens wants to remove

the condition of home incarceration. Second, Owens wants to be able to attend to his wife and to

attend doctor’s appointments and emergencies that may arise during her high-risk pregnancy. The

motion provides no more detailed justification supporting Owens’ requested modifications to his

pretrial release conditions, offers no analysis or explanation supporting these modifications, and

lacks any reference to relevant case law or other authority. Beyond a statement citing his

compliance with his conditions of pretrial release, Owens’ motion provides no support for

modification of his conditions of pretrial release. 2 Nor does it analyze the level of supervision or



2
    The motion fails to comply with Local Criminal Rule (“LCrR”) 47 because it lacks any statement
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explain why this level, or the next less restrictive classification of home detention, would be

inappropriate.

       The Government opposes Owens’ request to modify his conditions of release. First, Owens

has not identified specific information for the Court to evaluate his requested modifications.

Second, Owens’ does not discuss why a specific modification to address his wife’s high-risk

pregnancy would not be feasible under terms of home incarceration, the level of restriction that

the Court reaffirmed was the least restrictive means for Owens’ pretrial release less than six months

ago. Finally, even if Owens has complied with his conditions of release to date, such compliance

does not, by itself, warrant further modifications to a less-restrictive set of conditions. See United

States v. Henry, Crim. Case No. 17-216-01 (CKK), 2018 WL 6726886, at * 2 (D.C., Dec. 21,

2018) (“Ms. Henry’s compliance with the conditions imposed on her … is merely what is expected

of her, and as such, it does not warrant her release…”).

       When considering whether the Court should detain or release a defendant pretrial, a court

must consider four factors: (1) the nature and circumstances of the offenses, (2) the weight of the

evidence against the defendant, (3) the defendant’s history and characteristics, and (4) the danger

to the community if the defendant were to be released. 18 U.S.C. § 3142(g). In the Government’s

December 2023 response in support of detention, the Government argued that all four factors

supported detention of Owens. See ECF 22, pp. 13-17. The Court should consider these same

factors when reviewing the current motion to modify Owens’ conditions of pretrial release. First,

Owens has been charged with multiple felonies, including a crime of violence pursuant to 18

U.S.C. § 111(b). The evidence presented to the Court at the December 2023 hearing described the




of the specific points and authority that support the motion, including a concise statement of facts,
LCrR 47(a), and lacks a proposed order, LCrR 47(c).
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nature and circumstances of Owens’ January 6 conduct, and this conduct supports the charged

offenses. Second, the video evidence from Capitol Police and third parties, the text messages sent

by Owens, and his testimony at the December detention hearing provided overwhelming evidence

against Owens. Third, Owens’ history includes multiple felony convictions for drug-related

offenses, his failure to comply with past court orders of probation, and his post-arrest statements

that, at a minimum, supported the destruction of evidence in this case. Fourth, Owens’ actions at

the Capitol make him a serious risk of danger to the community. The Court has evidence that

Owens sent text messages after the January 6, 2021 riot that he was willing to engage in future

violence. See ECF 22-2 (“We had to fight the fuck out of these cops. DC capitol cops . . . We

fuckin did and we will fuckin do it again.” (January 7, 2021, at 3:30:29 UTC); “I’m coming home

baby. But I’m coming back if I have to. . .” (January 7, 2021, at 17:01:37 UTC); “Not everyone

could make it. But I bet they find a way next time.” (January 7, 2021, at 17:07:32 UTC) (emphasis

added)). In the current environment, Owens’ willingness to commit future violence against police

is a serious threat to the safety of law enforcement and the public.

       Owens has not identified specific information for the Court to evaluate his requested

modifications. Owens requested to assist his wife in her high-risk pregnancy but articulates no

details about what specific needs she may have. Owens does not mention the nature of the risk,

nor any specific medical restrictions or burdens such as more frequent prenatal medical

appointments, driving restrictions, or medically ordered bed rest or hospital stays. In short, Owens

does not explain what additional activities outside of his home are necessary, why he is needed to

perform them, or how they can’t be accommodated through a simple modification to his release

conditions under existing home incarceration.




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       The Court issued its order that Owens be subject to home incarceration on January 11,

2024. Owens’ motion, without explicitly stating so, in effect demands that the Court change

Owens’ conditions of pretrial release from home incarceration to a lower level of supervision. But

a lower level of supervision for Owens would be contrary to the Court’s initial determination that

home incarceration was the least restrictive means needed to protect the community, and contrary

to the Court’s reaffirmation of that decision in April of 2024 when it maintained Owens on home

incarceration but specifically modified it to allow him to attend work and religious activities.

       Further, Owens claims he has been compliant with the terms of his pretrial release to date.

However, simple compliance with pretrial release does not provide assurance that Owens would

comply with a less-restrictive set of conditions of pretrial release. A defendant’s compliance with

a court’s order alone does not warrant an easing of the conditions of pretrial release. Henry, 2018

WL 6726886, at * 2 (D.D.C. Dec. 21, 2018) (“Ms. Henry’s compliance with the conditions

imposed on her … is merely what is expected of her, and as such, it does not warrant her

release…”); see also United States v. Johnson, No. 2:21-cr-00707-WJM, 2022 WL 375319 at *2

(D.N.J. Feb. 8, 2022) (defendant’s argument that his compliance with release conditions showed

they were unnecessary “is nothing more than a defendant’s own evaluation of his character” that

courts have found insufficient to support a change of conditions); United States v. Esposito, 354

F. Supp. 3d 354, 360-61 (S.D.N.Y. 2019) (same); United States v Chambers, No. 23-20009-DDC,

2023 WL 8254523 at *2 (D.Kan. Nov. 29, 2023) (same).

       In this case, Owens’ compliance with the Court’s pretrial release by itself does not warrant

a lesser level of restrictions. The severity of the pending charges, the overwhelming evidence of

Owens’ actions on January 6, 2021, and Owens’ statements that he would entertain future violence




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against law enforcement, are evidence that the current limits on his out-of-home activities should

be continued.

                                        CONCLUSION

       The current conditions of Owens’ pretrial release, including home incarceration, are the

least restrictive measures to reasonably assure the safety of the community and assure his

appearance in this case. The Government respectfully submits that the Court should reject Owens’

request to change the classification of his current conditions of pretrial release from home

incarceration. The Government would not oppose specific targeted modifications within his

supervision under home incarceration, but only if Owens provides to the Court specific, verifiable

information which necessitates specific, targeted, and limited modifications within home

incarceration.




                                             Respectfully submitted,

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